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                         UNITED STATES DISTRICT COURT FOR THE                                F LED         ~


                          NORTHERN DISTRICT OF WEST VIRGIMA
                                                                                             AUG 17 2022
                                                                                     U.S. DISTRICT COURT-WVND
                                                                                       CLARKSBURG, WV 26301
  UMTED STATES OF AMERICA


                                                     Criminal No. 172022-cr-    S~
  LANCE KURETZA,
                               Defendant.
                                                     Violations:        18 U.S.C.   § 242
                                                                        18 U.S.C.   § 1519



                                          INDICTMENT

       The Grand Jury charges that:

                                             COUNT ONE

                              (Deprivation of Rights under Color of Law)

       On or about January 20, 2018 in Monongalia County, within the Northern District of West

Virginia, LANCE KURETZA, then a Deputy Sheriff with the Monongalia County Sheriffs Office,

while acting under color of law, willfully deprived Q.G., a person known to the Grand Jury, of his right,

secured by the Fourth Amendment to the United States Constitution, to be free from unreasonable

seizures, by punching and elbowing Q.G. in the face, striking Q.G. and spraying Q.G. with pepper spray

after Q.G. was handcuffed, and kneeing Q.G. while escorting him. The offense included the use of a

dangerous weapon and resulted in bodily injury to Q.G.

       All in violation of Title 18, United States Code, Section 242.




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                                            COUNT TWO

                         (Destruction, Alteration, and Falsification of Records)

       On or about January 21, 2018 in Monongalia County, within the Northern District of West

Virginia, LANCE KURETZA, in relation to and in contemplation of a matter within the jurisdiction of

the Federal Bureau of Investigation, an agency of the United States, knowingly falsified and made a false

entry in a record and document with the intent to impede, obstruct, and influence the investigation and

proper administration of that matter. Specifically, KURETZA falsified and made a false entry in his Use

of Force Report for Call Number XX-XXXXXXX for his use of force against Q.G. by: 1) falsely stating that

he sprayed Q.G. with pepper spray before Q.G. was handcuffed, 2) omitting that he sprayed Q.G. with

pepper spray after Q.G. was handcuffed, and 3) omitting that he struck Q.G. after Q.G. was handcuffed.

       All in violation of Title 18, United States Code, Section 1519.



                                                     A true bill,

                                                     /5/
                                                     Foreperson



Is!                                                                 Is!____________________________
WILLIAM IHLENFELD                                                   KRISTEN M. CLARKE
United States Attorney                                              Assistant Attorney General
                                                                    Civil Rights Division



Sarah E. Wagner                                                      Kyle Boynton
Assistant United States Attorney                                     Trial Attorney




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